            Case
 Fill in this       14-13491
              information              Doc
                          to identify the case:              Filed 10/03/19                 Entered 10/03/19 15:49:39                           Desc Main
                                                                 Document                   Page 1 of 5
B 10 (Supplement 2) (12/11)               (post publication draft)
 Debtor 1              William Coni
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         District of Massachusetts
 United States Bankruptcy Court for the: ___________________________BBBBBBB_____

 Case number             14-13491
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                           10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                                     US Bank Trust National Association, et al.                                                            Court claim no. (if known):
 Name of creditor:                  ______________________________________                                                                 6-1
                                                                                                                                           _________________
                                                                                                          5 ____
                                                                                                        ____ 7 ____
                                                                                                                 4 ____
                                                                                                                    3
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                  6 Colonial Way
                                    ________________________________________________
                                    Number     Street

                                    _______________________________________________

                                    Plainville, MA 02762
                                    ________________________________________________
                                    City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  ✔     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                          $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                              _________________
                                                                                                   MM / DD / YYYY

  
  ✔     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        D Total postpetition ongoing payments due:                                                                                                    (a)      31,963.86
                                                                                                                                                             $ __________
                10/1/2018-12/1/2018 @ $2,438.11/mo ($7,314.33), 1/1/2019-10/1/2019 @ $2,483.67/mo ($24,836.70), less $187.17 in suspense

        E Total fees, charges, expenses, escrow, and costs outstanding:                                                                           +   (b)          39.00
                                                                                                                                                             $ __________
                $39.00, Notice filed 5/2/2018

        F Total. Add lines a and b.                                                                                                                   (c)      32,002.86
                                                                                                                                                             $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                               10/1/2018
                                                                                                  _________________
        due on:                                                                                     MM / DD / YYYY


Form 4100R                                                         Response to Notice of Final Cure Payment                                                       page 1
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Debtor 1         William Coni
                _______________________________________________________                                              14-13491
                                                                                             Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  ✔      I am the creditor’s aWWRUQH\RUDuthorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               8 /s/ Stephanie E. Babin, Esq.
                   __________________________________________________
                   Signature
                                                                                             Date    10/03/2019
                                                                                                     ____B_____________




 Print              Stephanie                E.            Babin, Esq.
                   _________________________________________________________                       Counsel for U.S. Bank Trust, NA
                                                                                             Title__________________________________BBBBBBB_BBBB
                   First Name                      Middle Name        Last Name




 Company            Sassoon & Cymrot, LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            84 State Street, Suite 820
                   _________________________________________________________
                   Number                 Street


                    Boston                            MA       02109
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      617 _____–
                   (______) 720 0099
                                _________                                                          SBabin@SassoonCymrot.com
                                                                                             Email ________BBBBBBBBBBBBBBB________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 EASTERN DIVISION

 In re:

 WILLIAM CONI,                                   Chapter 13
                                                 Case No. 14-13491-MSH
           Debtor.

                                CERTIFICATE OF SERVICE

          I, Stephanie E. Babin, Esq. of the law firm of Sassoon & Cymrot, LLP, hereby

certify that I have this 3rd day of October 2019 served on behalf of U.S. Bank Trust N.A.,

as Trustee of the Lodge Series IV Trust as serviced by BSI Financial Services a Response

to Trustee’s Notice of Final Cure and this Certificate of Service by causing copies hereof

to be sent by electronic mail via the Case Management / Electronic Case Files (ECF)

system and by first-class U.S. mail (M) to all parties not appearing electronically but

entitled to service per the Federal Rules of Bankruptcy Procedure.

 William Coni                                     Richard D. Smeloff
 6 Colonial Way                                   Smeloff & Associates
 Plainville, MA 02762 (M)                         500 Granite Avenue, Suites 7 & 8
                                                  Milton, MA 02186 (ECF)
 John Fitzgerald                                  Carolyn Bankowski-13-12
 Office of the US Trustee                         Chapter 13-12 Trustee Boston
 JW McCormack Post Office & Courthouse            P. O. Box 8250
 5 Post Office Sq., 10th Fl, Suite 1000           Boston, MA 02114 (ECF)
 Boston, MA 02109 (ECF)

                                                /s/ Stephanie E. Babin, Esq.
                                                Stephanie E. Babin, Esq.
